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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

FEDERAL TRADE COMMISSION,
Plaintiff,
y Civil Action No. 1:20-cv-03590-JEB

META PLATFORMS, INC.

Defendant.

PROPOSED ORDER REGARDING SEQUESTRATION OF WITNESSES

Pursuant to Fed. R. Evid. 615(a), (b), the Court ORDERS that:

If an individual has been identified as a fact witness on either party’s witness list, until
their trial testimony has been completed, they shall be excluded from the courtroom and shall not
be provided with access to trial testimony or to either party’s opening statements. This Order
shall not apply to Defendant Meta Platforms’ corporate representative or expert witnesses who

expect to provide testimony pursuant to Fed. R. Evid. 702.

IT IS SO ORDERED.

DATED: _% HY Vs Yf oU ot
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United Sta i trict Court Chief Judge

